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                                                                                                 17-cv-1617
                                                                                                  Bolden, J.

                              United States Court of Appeals
                                                    FOR THE
                                             SECOND CIRCUIT
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                    At a stated term of the United States Court of Appeals for the Second
      Circuit, held at the Thurgood Marshall United States Courthouse, 40 Foley Square,
      in the City of New York, on the 29th day of September, two thousand twenty.

      Present:
                     Raymond J. Lohier, Jr.,
                     William J. Nardini,
                     Steven J. Menashi,
                           Circuit Judges.

      In re Frontier Communications, Corp. Stockholders Litigation                 20-1161



      Appellants Arkansas Teacher Retirement System and Carlos Lagomarsino move to lift the stay of
      proceedings in this appeal as to one of the Appellees under 11 U.S.C. § 362. Upon due
      consideration, it is hereby ORDERED that the motion is DENIED. The appeal as to that Appellee
      will remain stayed, as a matter of discretion, pursuant to the terms of the Court’s order dated April
      29, 2020. See Louis Vuitton Malletier S.A. v. LY USA, Inc., 676 F.3d 83, 96 (2d Cir. 2012).

                                                    FOR THE COURT:
                                                    Catherine O’Hagan Wolfe, Clerk of Court




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